          Case 1:19-cv-02379-KBJ Document 54 Filed 02/04/20 Page 1 of 3



                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
COMMITTEE ON THE JUDICIARY OF THE         )
U.S. HOUSE OF REPRESENTATIVES,            )
                                          )
                        Plaintiff,        )
v.                                        )  No. 1:19-cv-2379-KBJ
                                          )
DONALD F. McGAHN II,                      )
                                          )
                        Defendant.        )
__________________________________________)

         MOTION TO WITHDRAW APPEARANCE OF JAMES M. BURNHAM

       I, James M. Burnham, hereby move to withdraw my appearance on behalf of Defendants

in the above-captioned case because I am moving from the Civil Division to the Office of the

Attorney General and will no longer have responsibility for this case. The United States will

continue to be represented by other attorneys at the Department of Justice who have entered

appearances in this case.

Dated: February 4, 2020                          Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General

                                                 JAMES M. BURNHAM
                                                 Deputy Assistant Attorney General

                                                 ELIZABETH J. SHAPIRO
                                                 Deputy Branch Director

                                                  /s/ James M. Burnham
                                                  JAMES M. BURNHAM (AZ Bar No. 034363)
                                                  Deputy Assistant Attorney General
                                                  United States Department of Justice
                                                  Civil Division
                                                  950 Pennsylvania Ave, NW
                                                  Washington, D.C. 20530
                                                  Tel: (202) 353-2793
                                                  Fax: (202) 305-8470
Case 1:19-cv-02379-KBJ Document 54 Filed 02/04/20 Page 2 of 3



                                  Email: James.M.Burnham@usdoj.gov

                                  Counsel for Defendant




                              2
          Case 1:19-cv-02379-KBJ Document 54 Filed 02/04/20 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the clerk using the CM/ECF system,

which will send notification of such filing to all counsel of record in this matter.



                                               /s/ James M. Burnham
                                               JAMES M. BURNHAM




                                                  3
